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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

 RACHIEM GODFREY                          :

                   Petitioner             :     CIVIL ACTION NO. 3:19-0394

             v.                           :          (JUDGE MANNION)

                                          :
 BARRY SMITH, et al.,
                                          :
                   Respondents
                                          :

                                     ORDER

        In accordance with this Court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. The petition for writ of habeas corpus (Doc. 1) is DISMISSED as
           time-barred by the statute of limitations. See 28 U.S.C. §2244(d).
        2. There is no basis for the issuance of a certificate of appealability.
           See 28 U.S.C. §2253(c).

        3. The Clerk of Court is directed to CLOSE this case.

        4. Petitioner’s motion to stay (Doc. 21) and motion to lift stay (Doc. 24)
           are DISMISSED as moot.


                                              s/ Malachy E. Mannion
                                              MALACHY E. MANNION
                                              United States District Judge

DATE: October 16, 2020
19-0394-01
